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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 In re:                       )
                              )                       Chapter 11
 ABENGOA BIOENERGY US HOLDING )
 LLC, et al.,                 )                       Case No. 16-41161-659
                              )
               Debtors.       )                       (Jointly Administered)
                              )
                              )                       Hearing Date and Time:
                              )                       Sept. 13, 2021, 11:00 a.m.
                              )                       Hearing Location:
                              )                       United States Courthouse
                              )                       Courtroom 7 North
                              )                       111 South Tenth Street
                              )                       St. Louis, Missouri 63102

          ENCORE ENERGY SERVICES, INC.’S OPENING BRIEF SUPPORTING
                         ADMINISTRATIVE CLAIMS


          Encore Energy Services, Inc. ("Encore"), submits this opening Brief pursuant to the Order

 concerning the administrative claims Encore filed (Doc. 2248). The administrative claims are

 supported by the major post-petition value provided by Encore's delivered gas and services.

                                          Summary Introduction

          Drivetrain, LLC, GUC Liquidating Trustee ("Drivetrain") filed its Forty-Fourth Omnibus

 Claims Objection (Doc. 2243) (“Claims Objection”) seeking to reclassify two of Encore’s claims,

 filed as administrative claims, to general unsecured status. While the Claims Objection thus could

 cause major harm and unfairness to Encore, the Claims Objection does limit issues for the

 September 13, 2021 evidentiary hearing. Rather than asserting Encore has claimed for amounts

 Encore was already paid or that Encore did not incur expenses or conduct the business described

 in the two pertinent Encore claims (“Claims”), the issue is how many administrative dollars will

 be awarded on account of Encore’s post-petition efforts and payment of that amount per Encore’s
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 motion seeking payment of the Claims.

        Encore's administrative status is amply justified under two statutory subdivisions, either of

 which is individually sufficient: expenses of preserving the estate (11 U.S.C. Sec. 503(b)(1) and

 expenses of substantial contribution to the estate (11 U.S.C. Sec. 503(b)(3)(D).          Encore’s

 administrative status also is justified under Section 503(b) itself. See generally 11 U.S.C. Sec.

 102(3) (“including” is not limiting); In re Curry Printers, Inc., 135 B.R. 564, 568 (Bankr.N.D. Ind.

 1991) (“including” in Sec. 503(b) is not limiting).

        Encore preserved the estate and also made a substantial contribution to the estate in

 multiple ways. Encore need not prove all of the following. Together, the following certainly

 provide ample value justifying administrative status for Encore’s Claims:

        •      The York and Ravenna ethanol plants were preserved from a “freezing”
        event specifically and only because of Encore’s post-petition supply of natural gas
        and services.

        •      Debtors desired to operate and found major value in operating the York and
        Ravenna ethanol plants at or near capacity. Even after moving for authority to reject
        Encore’s contracts, Debtors deliberately used Encore’s gas and then promoted the
        achievement of getting the York and Ravenna plants operating at or near capacity
        as a major achieved goal that would add value to selling the plants and allow a more
        prompt prospect for concluding a sale process.

        •       Encore at Debtors’ request supplied gas post-petition. The contracts that
        allowed this expressly obligate Debtors to multiple charges for delivered gas and
        related service. One is the per unit price for physical gas and the associated
        NYMEX position for that particular pertinent month, but another is the gain or loss,
        if any, involved with the multi-month forward-purchased NYMEX positions. At
        the time of rejection, these NYMEX positions were out-of-the-money and unwound
        at a loss. Debtors, who intentionally pleaded for and received post-petition gas
        from Encore, thus owe for that part of the overall obligation that includes the
        $507,696.15 of NYMEX unwinding expense.

        •       Even if one, incorrectly, considers only the per unit price for physical
        quantities of gas delivered post-petition and the current month NYMEX settlement
        expense for the months in which gas was delivered, Encore is owed $139,255.17.
        This is pursuant to true-up of post-petition gas supplied at York ($129,660.75) and
        Ravenna ($9594.42).

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        •       The fact that Encore’s contracts were multi-month provided valuable
        benefits to the estate. The long-term contracts were considered by the Carl Marks
        firm and at least one potential buyer as late as May 23, 2016.

        Encore was especially positioned to amply justify administrative expense classification.

 Encore was not a “run of the mill” creditor. For example: Encore prepetition contracted with third

 parties for control of priority space or capacity, so to speak, in the gas pipelines serving York and

 Ravenna. Without Encore providing for Debtors of Encore’s contractually obtained gas and

 pipeline space, so to speak, the York and Ravenna facilities would have been subject to substantial

 freeze damage and could not have produced ethanol or related products at or near their ethanol

 plants’ capacity as desired by Debtors. In the case of York, Encore’s analysis is the plant could

 not have produced at all without using Encore’s contractually obtained pipeline space. A second

 example: The Bankruptcy Code, such as Section 556, allowed Encore to terminate all prepetition

 contracts. Congress felt so strongly about the importance of protecting forward contract merchants

 such as Encore that Section 556 provides that the termination and liquidation right trumps any

 contrary Bankruptcy Code provision or bankruptcy court order and that the forward contract

 merchant shall not be stayed by any such provision or court order. A third example: Pursuant to

 FERC tariffs and/or interstate pipeline rules and/or utility tariffs and/or rules, it takes two weeks

 to a month to change natural gas suppliers and such change cannot be effectuated mid-month, as

 is widely known in the industry. Encore was uniquely positioned to, and did, provide

 administrative expense value to Debtors’ estate.

        Nothing in the Bankruptcy Code limits a claimant, who happens to have an executory

 contract that was rejected, from obtaining administrative expense status for contract-related claims.

 The claims are based not on the mere fact of rejection of the contract, but instead on the fact the

 claimant has claims satisfying the standards of Section 503(b), such as but not limited to Sec.

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 503(b)(1) or (3)(D). The Supreme Court and the Eighth Circuit, concur:

         If the debtor-in-possession elects to continue to receive benefits from the other party to an
         executory contract pending a decision to reject or assume the contract, the debtor-in-
         possession is obligated to pay for the reasonable value of those services, which, depending
         on the circumstances of a particular contract, may be what is specified in the contract.
         465 U.S. at 531, 104 S.Ct. at 1199 (emphasis added) (citations omitted)

 U.S. on Behalf of U.S. Postal Serv. v. Dewey Freight System, Inc., 31 F.3d 620, 624 (8th Cir. 1994),

 quoting NLRB v. Bildisco & Bildisco, 465 U.S. 513, 104 S.Ct. 1188, 79 L.Ed.2d 482 (1984).

                                           Legal Analysis

         A. Drivetrain bears the burden of overcoming the Claims.

         A party objecting to a properly filed proof of claim “must produce evidence rebutting the

 claimant or else the claimant will prevail.” In re Vantage Investments, Inc., 385 B.R. 670, 679

 (Bankr. W.D. Mo. 2008). Such evidence must “meet, overcome, or at a minimum, equalize the

 valid claim.” In re Farmland Indus., Inc., 305 B.R. 497, 501 (Bankr. W.D. Mo. 2004). Drivetrain

 has not met this threshold. It is notable that Drivetrain’s Claim Objection does not discuss at all

 the amount of value or benefits, see American Anthracite & Bituminous Coal Corp. v. Leonardo

 Arrivabene S. A. 280, F. 2d. 119, 124-25 (2d. Cir. 1960), cited by Dewey, provided by Encore post-

 petition.

        B. Whether seen as arising from a post-petition or prepetition agreement between Debtors
 and Encore, the funds Encore seeks in the Claims are amply justified for preservation of and a
 substantial contribution to the estate.

         Encore’s position is that Debtors made and confirmed a post-petition agreement with

 Encore concerning which the Base Agreement and confirming orders were substantially similar to

 the prepetition arrangement. These agreements were not limited to delivery of physical natural

 gas but also included features like a NYMEX position and related responsibilities. Specifically,

 Encore made a post-petition agreement with Debtor to forgo its rights to terminate and liquidate



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 as afforded under the Bankruptcy Code to forward market merchants operating under forward

 market contracts. Notwithstanding, whether or not Encore’s post-petition transactions with

 Debtors are viewed as arising post-petition or constituting post-petition performance of prepetition

 contracts, the key is reasonable value or benefits of those goods and services.

        A “transaction” for administrative expense purposes is broadly viewed. Thus, a prepetition

 revenue distribution agreement was held to have administrative expense status when breached

 post-petition by a debtor in In re Athens / Alphas Gas Corp., 332 B.R. 578, 580-81 (8th Cir. B.A.P.

 2005). In Athens / Alpha Gas, the debtor retained funds in the estate and used them to “pay

 operating expenses and keep the business going.” The 8th Circuit BAP noted that the “estate’s

 creditors should pay for those expenses necessary to produce the distribution” that the debtor’s

 operations eventually allowed. It also was notable that the court awarded an administrative expense

 of exactly $333,089.65. Id at 581. By reviewing the Athens/Alpha Gas lower court’s order, one

 can determine this is exactly the amount of dollars provided before in the prepetition contract had

 it been honored by the debtor. See In re Athens / Gas Corp, Bankr. No. 03-30008 (Bankr. D.N.D.

 April 19, 2005) Order at p.3.

        Similarly, a claimant’s performance of a prepetition contract, and a debtor’s acceptance of

 that claimant’s performance can establish a “post-petition transaction” appropriate for

 administrative expense status. In re Goody’s Family Clothing, Inc., 401 B.R. 656, 671 (D. Del.

 2009). Chief Judge Lindquist also so held in In re Curry Printers, Inc., 135 B.R. 564, 568–69

 (Bankr. N.D. Ind. 1991):

        If a reorganization is to succeed, creditors asked to extend credit after the petition
        is filed must be given priority so they will be moved to furnish the necessary credit
        to enable the bankrupt to function. See, In re Mammoth Mart, Inc., 536 F.2d 950,
        954 (1st Cir.1976) (Coffin, Chief Judge). Thus, “[w]hen third parties are induced
        to supply goods or services to the debtor-in-possession *569 ... the purposes of [§
        503] plainly require that their claims be afforded priority.”

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 Chief Judge Lindquist went on to hold a prepetition equipment lessor, even though the leases were

 eventually rejected, would receive administrative expense treatment, per Section 503(b)(1), for the

 “reasonable value of the property, regardless of the actual use made thereof by the estate,” noting

 that the lessor cited to In re Xonics, Inc., 65 B.R. 69, 73 (Bankr.N.D.Ill.1986). The particular

 administrative claimant in Curry Printers argued for administrative status for use value equal to

 the prepetition lease’s contract terms, and Chief Judge Lindquist agreed, though he gave the debtor

 an opportunity to see if it could carry a burden of showing the prepetition terms were not

 reasonable. In re Curry Printers, Inc., 135 B.R. 564, 567 (Bankr. N.D. Ind. 1991).

        The substantial contribution provision in Section 503(b)(3) also, independently, justifies

 administrative status for Encore.      Section 503(b)(3) "is intended to promote meaningful

 participation in the reorganization process . . ." See, e.g., In re S & Y Enterprises, LLC, 480 B.R.

 452, 459 (Bankr. E.D. N.Y. 2012); In re Albert Holdings Inc., 157 B.R. 753, 757 (Bankr. S.D.

 N.Y. 1993); In re Dana Corp., 390 B.R. 100, 108 (Bankr. S.D.N.Y. 2008); In re Granite Partners,

 213 B.R. 440, 445 (Bankr. S.D.N.Y. 1997). See also, In re 9085 E. Mineral Office Bldg. Ltd., 119

 B.R. 246, 253 (Bankr. D. Colo. 1990) (warning that a narrow application of substantial

 contribution awards would have a chilling effect upon the Bankruptcy Code's goal of encouraging

 meaningful participation).

        The substantial contribution requirement is satisfied when the claimant's services

 substantially contributed to an actual and demonstrable benefit to the debtor's estate and creditors.

 See, e.g., In re Service Merchandise, Co., 256 B.R. 738, 742 (Bankr. M.D. Tenn. 1999); 9085 E.

 Mineral Office, 119 B.R. 246, 250.

        The party seeking an allowed administrative expense claim based on a "substantial



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 contribution" need not have intended to benefit the estate. Rather, what matters is that the party's

 actions did, in fact, benefit the estate. See In re DP Partners Ltd Partnership, 106 F.3d 667, 673

 (5th Cir.), cert, denied, 552 U.S. 815 (1997) (unsuccessful bidder for debtor's assets entitled to

 allowed substantial contribution claim because its participation in the process increased recoveries

 for creditors); see also In re Celotex Corp., 227 F.3d 1336, 1339 (11th Cir. 2000); Richton Int'l

 Corp., 15 B.R. 854, 856 (Bankr. S.D.N.Y. 1981) (substantial contribution claim can be made even

 when party's efforts were in its own interest, but also benefited the estate).

        Although the Bankruptcy Code does not define "substantial contribution,” courts have held

 that an applicant has substantially contributed to a chapter 11 case if it has provided "an actual and

 demonstrable benefit to the debtor's estate, its creditors, and to the extent relevant, the debtor's

 shareholders." In re Dana Corp., 390 B.R. at 108 (quoting In re U.S. Lines, Inc., 103 B.R. 427,

 429 (Bankr. S.D.N.Y. 1989)). Courts have considered various factors in determining whether a

 party has conferred an actual demonstrable benefit, including: (i) whether the services benefited

 the estate itself or all of the parties in the bankruptcy case; (ii) whether the services resulted in a

 significant and demonstrably positive benefit to the estate; and (iii) whether the services duplicated

 the efforts by others. See Trade Creditor Group v. L. J. Hooker Corp. (In re Hooker Invs., Inc.),

 188 B.R. 117, 120 (S.D.N.Y. 1995), aff'd, 104 F.3d 349 (2d Cir. 1996); In re Bethlehem Steel

 Corp., 2003 WL 21738964, at *6 (Bankr, S.D.N.Y., July 28, 2003).

        Applying these substantial contribution factors as a whole to Encore’s situation, Encore

 has undoubtedly made a substantial contribution to this case, its services could not have been

 duplicated by other parties, and its services resulted in a significant and demonstrable benefit to

 the estate. Further Encore incurred expenses in order to facilitate the orderly administration of the

 Debtor’s case.



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        The natural gas supplied by Encore was crucial for preservation of the estate. Multiple

 officers of the Debtors pleaded with Encore to supply gas, and Debtors' Chief Financial Officer

 was among those who promised and represented to Encore that Debtors would pay Encore for the

 gas through the multiple months of the arrangement and pay on the same terms as the prepetition

 contracts.

        Encore was willing to reach a post-petition agreement with Debtors with the similar

 confirming orders and base agreement provisions as the prepetition contracts and the assurance

 that Debtors would honor the multi-month contracts through their durations, ending at year-end,

 2016, unless extended by mutual express agreement. Debtors, including ABC and ABNE, agreed

 to this and promised and represented to Encore they would so perform.

        As shown in the Debtors’ Motion for Entry of Interim and Final Orders pursuant to 11

 U.S.C. §§ 105, 361, 362, 363, 364, and 507, for DIP financing dated on or about Feb. 24, 2016,

 and Order thereon (Doc. 85) and/or the Motion for Entry of an Order (I) (A) Approving and

 Authorizing Bidding Procedures in Connection with the Sale … and (B) Approving Stalking Horse

 Protections etc. (Doc. 378), Debtors sought to have the York and Ravenna plants operating and

 such operating status was a main goal and desired to be at or near capacity, with a budget and other

 financial information assuming such status. Debtors desired to and found major value in operating

 the York and Ravenna plants at or near capacity. Encore’s delivery of gas allowed this, and

 Debtor’s intentionally used the gas post-petition, both before and after moving for authority to

 reject Encore’s contract.

        No one forced Debtors to strive to operate the York and Ravenna plants so vigorously

 before obtaining court authorization to reject Encore’s contracts.        Although Debtors were

 contractually bound by April, 2016, to Encore, they made a decision to try to operate the York and



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 Ravenna plants at or near capacity and indeed reaped benefits from using Encore-supplied gas to

 do so.

          In addition to the operating revenues from the plants, touted by the Debtor’s in their motion

 to approve bidding procedures and for stalking horse protections, Encore notes the difference also

 between plants sold while operating and while not operating. Debtors’ Colwich plant sold while

 not operating, for $3,150,000. Debtor’s operating plants at York, Ravenna, and, combined, Indiana

 and Illinois sold respectively for $37,375,000; $115,000,000; and $200,000,000.

          Although it is true that on April 1, 2016, Debtors moved for authority to reject the Encore

 contracts, sometimes, as the Court knows, a debtor tactically moves for authority to reject tacitly

 seeking to enhance bargaining position with a supposed executory contract creditor. But, whether

 or not Debtors sought to keep options open, they intentionally kept using Encore’s delivered gas

 and benefiting from the overall contracts with Encore before rejection.

          Moreover, the estate was clearly preserved from a “freezing” event specifically and only

 because of Encore’s natural gas and services. Encore’s evidence is that only because of natural

 gas delivered by Encore were ABC and ABNE able to warm the plants in the winter of 2016, such

 that they did not undergo freezing, which would have incurred millions and likely tens of millions

 of dollars of damage, and/or interruption of operations, which would have significantly reduced

 operating revenue, reliability, and affected confidence of employees, other vendors and creditors

 and prospective buyers.

          The contract wording also contained an obligation on Encore to provide any and all gas to

 the plants on a “Firm” basis up to the “Maximum Daily Quantity (MDQ)” as specified in the

 Confirming Orders. Encore could not release (or otherwise turn back) its valuable winter pipeline

 capacity or gas supplies as it had to stand ready to provide the MDQ at a moment’s notice, which



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 also gave Debtors valuable business prospects.

     C. Any attempt to change the Encore contracts, such as by paying only for some of the
 NYMEX close-outs and not for others, is unfair and unpersuasive.

        Debtors never asked Encore postpetition to supply gas on a month-to-month, uncommitted

 arrangement. Instead, Debtors asked Encore to reach a postpetition agreement in which Debtors

 would abide by the entirety of Encore’s contracts and promised they would honor them. Any

 attempt to rewrite the contracts, to somehow claim that Encore and Debtors re-contracted each

 month on a month-by-month basis, is unfair and unpersuasive. That was not actually what

 occurred. Moreover, to do so is extremely prejudicial to Encore, because, among other things, it

 allows Debtors to leave Encore hanging after intentionally pleading with Encore to deliver gas and

 maintain the corresponding NYMEX positions and repeatedly commenting to Encore how

 important it was to the postpetition estate’s York and Ravenna plants to have the Encore

 agreement. In addition, Encore was contractually considered to be a ‘critical supplier’ by Debtor.

        Moreover, even isolating on the post-petition physical gas used by Debtors in May, 2021,

 and (wrongly) ignoring for the sake of argument Debtors other obligations then-existing for future

 NYMEX positions, Debtors never fully paid Encore. Debtors were invoiced $129,660.75 for the

 true-up related to May, 2016, for York (ABC) and $9,594.42 for the May 2016 true-up related to

 Ravenna (ABNE). Debtors never paid. This $139,255.17 clearly is an important expense of

 preserving the estate and also constitutes a substantial contribution to the estate. It is major value

 provided by Encore.

        Drivetrain has shown interest in connection with the September 13 forthcoming trial with

 some court-filed “Utility Orders” (e.g., Doc. 233) and the Court’s May 31, 2016, order authorizing

 rejection of Encore’s prepetition contracts (Doc. 351). But those orders did not impair Encore’s

 rights as a forward market merchant. See 11 U.S.C. Sec. 556 (rights shall not be stayed, avoided

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 or otherwise limited by court order).      Indeed, the Interim Utility Order Drivetrain uplifts

 underscores that Debtors felt, in the crucial early stages of their bankruptcies, that Encore’s gas

 services were highly valuable to the estate.

        The estate has benefitted significantly more than the $507,596.15 Claims Amount, the

 minimum amount for which Encore seeks administrative expense status.

                                            Conclusion

        Encore, having provided value and benefit of preserving the estate and substantially

 contributing to it, seeks administrative expense status for a modest part of the value provided.

 Encore should receive at least $507,696.15 administrative expense allowance, and such amount

 should be paid per Encore’s motion for payment.


                                                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 30, 2021, a true and correct copy of this
 document has been served on the contested parties in interest via email to the following.

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